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Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Branch
$00 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.decourts.gov

HELLINA JACKSON

VS.

 

 

Plaintiff

-CAB-0053
Case Number 2022-CAB-005320

 

SAFEWAY, INC.

 

Defendant

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below, If plaintiff has no attorney, a copy of the Answer musi be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite $000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

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Keith W. Watters Clerk of ti Cpr?
Name of Plaintiffs Attomey A
1667 K Street, N.W., Suite 1125 By rw 7

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Address ! Bie ih. GOP
Washington, D.C. 20006 oH or
202-887-1990 Date November 22, 2022
Telephone
PARE MAE, HT B® (202) 879-4828 Veuillez appeler au (202) 878-4828 pour une traduction Dé cé mdt bai dich, hay goi (202) 879-4828

SE He; ANRL, (202) 879-48280E SARA = earth tone" AprTy} (202) 879-4828 prart

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO $0, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at $00
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso Ja traduccién al espafiol

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TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
DIVISION CIVIL
Seccién de Acciones Civiles
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Teléfono: (202) 879-1133 Sitio web: www.dccourts.gov

 

HELLINA JACKSON

Demandante
contra

Nimero de Caso:

 

SAFEWAY, INC.
Demandado

CITATORIO
Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require entregar una Contestacién a la Demanda adjunta, sea en
persona o por medio de un abogado, en el plazo de veintitin (21) dias contados después que usted haya recibido este
citatorio, excluyendo el dia mismo de la entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
sesenta (60) dias, contados después que usted haya recibido este citatorio, para entregar su Contestacién. Tiene que
enviarle por correo una copia de su Contestacién al abogado de la parte demandante. El nombre y direccién del
abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
copia de la Contestacién por correo a la direccién que aparece en este Citatorio.

A usted también se le require presentar la Contestacién original al Tribunal en la Oficina 5000, sito en 500
Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes 0 entre Jas 9:00 a.m. y las 12:00 del mediodia
los sAbados. Usted puede presentar la Contestacién original ante el Juez ya sea antes que usted le entregue al
demandante una copia de la Contestacién o en el plazo de siete (7) dias de haberle hecho la entrega al demandante. Si
usted incumple con presentar una Contestacién, podria dictarse un fallo en rebeld{a contra usted para que se haga
efectivo e] desagravio que se busca en la demanda,

Keith W, Watters SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante

1667 K Street, N-W., Suite 1125 Por:
Direccién
Washington, D.C. 20006

 

Subsecretario

 

 

202-887-1990 Fecha
Teléfono
POS GE, TET BS (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Bé od mét bai dich, hay goi (202) 879-4828

eR SPmish 202) 879-4828 SROERAA PAMICY FOMP ATT (202) 879-4828 eRawr

IMPORTANTE: 51 USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
MENCIONADO 0, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRIA
DICTARSE UN FALLO EN REBELD{A CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
PODRIA TOMARSELE SUS BIENES PERSONALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI

USTED PRETENDE OPONERSE A ESTA ACCION, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
EXIGIDO.

Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
Society (202-628-1161) 0 el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

Vea al dorso el original en inglés
See reverse side for English original

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